                                                                               Motion GRANTED.
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
 VS.                                          )       CASE NO.: 3:14 CR-104
                                              )       JUDGE TRAUGER
 JOHN WESLEY CANTRELL III,                    )
      DEFENDANT.                              )


                   MOTION TO ALLOW DEFENDANT ACCESS
             TO IPOD OR SIMILAR DEVICE FOR DISCOVERY REVIEW



        COMES now the Defendant, John W. Cantrell III, by and though counsel and

 respectfully moves this Honorable Court to issue an Order allowing the Defendant to

 have access to an Apple IPod or similar device, provided to Defendant Cantrell through

 counsel. Such Order would allow the Defendant an opportunity and ability to review the

 electronic audio discovery provided in this case. In support thereof, Counsel states the

 following:

        1.      Defendant Cantrell is a part of a 19-defendant multiple count drug

                conspiracy indictment.

        2.      The discovery received from the government includes an extensive

                amount of wire tap recordings.

        3.      Defendant Cantrell is currently housed in the Robertson County Detention

                Facility in Springfield, Tennessee, and has limited access to computer, and

                is not allotted adequate time to review such audio discovery via CD.

        WHEREFORE, Defendant Cantrell moves this Honorable Court to issue an

 Order allowing the Defendant the ability to review the audio discovery by the use of an




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